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 1   XAVIER BECERRA
     Attorney General of California
 2   JOANNA HOOD
     Supervising Deputy Attorney General
 3   ANTHONY J. TARTAGLIO
     Deputy Attorney General
 4   State Bar No. 280286
      455 Golden Gate Avenue, Suite 11000
 5    San Francisco, CA 94102-7004
      Telephone: (415) 510-3602
 6    Fax: (415) 703-5480
      E-mail: Anthony.Tartaglio@doj.ca.gov
 7   Attorneys for Defendants
     Gavin Newsom and California Department of
 8   Corrections and Rehabilitation

 9
                             IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

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14   JOHN ARMSTRONG, et al.,                               C 94-2307 CW

15                                       Plaintiffs, DEFENDANTS’ ADMINISTRATIVE
                                                     MOTION TO FILE DOCUMENTS
16                  v.                               UNDER SEAL IN SUPPORT OF
                                                     DEFENDANTS’ SUR-REPLY TO
17                                                   PLAINTIFFS’ MOTION FOR A
     GAVIN NEWSOM, et al.,                           PERMANENT INJUNCTION AT SEVEN
18                                                   ADDITIONAL PRISONS AND
                                        Defendants. STATEWIDE [ECF No. 2948]
19
                                                           Judge:         The Honorable Claudia Wilken
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22         TO ALL PARTIES AND ATTORNEYS OF RECORD:

23         PLEASE TAKE NOTICE that Defendants move to seal several categories of information

24   from documents in support of their sur-reply to Plaintiffs’ motion at ECF No. 2948, including

25   personal and identifying information, information that would disclose the identities of inmate

26   witnesses and declarants, and safety and security information pursuant to Civil Local Rules 7-11

27   and 79-5.

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                                                       1
                                   Defendants’ Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
       Case 4:94-cv-02307-CW Document 3156 Filed 11/17/20 Page 2 of 3



 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2         Defendants move this Court to file documents under seal pursuant to Civil Local Rules 7-11

 3   and 79-5. Rule 79-5(d) requires the submitting party to submit a declaration establishing that the

 4   documents are sealable, a proposed order listing the sealable information in table format, and

 5   redacted and unredacted versions of the documents. Additionally, when submitting documents

 6   designated as confidential by the opposing party, under Rule 79-5(e), the submitting party’s

 7   declaration must identify the documents designated as confidential.

 8         On February 28, and June 3, 2020, Plaintiffs moved to seal several categories of

 9   information from documents in support of their R. J. Donovan and statewide motions, including

10   inmate personal and identifying information, and information that would disclose the identities of

11   inmate witnesses and declarants. (ECF Nos. 2920, 2947.) On September 9, 2020, this Court

12   ordered that this information be sealed. (ECF Nos. 3061, 3062.) These categories of information

13   are also present in documents Defendants will file to support their sur-reply to Plaintiffs’

14   statewide motion. Therefore, in compliance with Rule 79-5, Defendants have concurrently filed a

15   declaration identifying the sealable information in these documents, redacted copies of the

16   documents, and unredacted copies of the documents under seal. Defendants have also submitted

17   a proposed order for sealing these documents.

18         Local Rule 79-5(e) also requires Plaintiffs to submit a declaration establishing that this

19   material is sealable, and they have already done so in support of their February 28, and June 3,

20   2020 motion to seal these categories of information. (See ECF Nos. 2920, 2947.) Moreover,

21   Defendants did not object to Plaintiffs’ request to seal this information. (ECF Nos. 2925, 2950.)

22   Instead, Defendants submitted declarations in support of sealing these categories of information,

23   explaining the importance of protecting identifying information of inmate witnesses, in addition

24   to the significant safety and security risks associated with the public disclosure of this

25   information. (ECF Nos. 2925 ¶ 11; 2950 ¶ 7.)

26         In addition to the above, Defendants also seek to seal specific safety and security

27   information that, if disclosed, would endanger staff and inmates and threaten the security of

28   CDCR’s institutions.
                                                        2
                                    Defendants’ Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
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 1         Based on the foregoing, Defendants respectfully request that this Court grant Defendants’

 2   administrative motion to seal this information in their sur-reply to Plaintiffs’ statewide motion.

 3   Dated: November 17, 2020                               Respectfully submitted,
 4                                                          XAVIER BECERRA
                                                            Attorney General of California
 5                                                          JOANNA HOOD
                                                            Supervising Deputy Attorney General
 6

 7
                                                            /s/ Anthony Tartaglio
 8                                                          ANTHONY J. TARTAGLIO
                                                            Deputy Attorney General
 9                                                          Attorneys for Defendants
                                                            Gavin Newsom and California Department
10                                                          of Corrections and Rehabilitation
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                                    Defendants’ Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
